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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Donovan R. Johnson
                                Plaintiff,
v.                                                    Case No.: 1:20−cv−06500
                                                      Honorable Andrea R. Wood
Sgt. Anderson, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 31, 2025:


       MINUTE entry before the Honorable Andrea R. Wood: For the reasons stated in
the accompanying Memorandum Opinion and Order, Defendants' motion for summary
judgment [63] is granted. Defendants motion to bar expert opinions and testimony of
Keona Marshall, LPN [74] is denied as moot. The Clerk is directed to enter Judgment in
favor of Defendants. Civil case terminated. Mailed notice (lma, )




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